                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
RMT:ADW                                             271 Cadman Plaza East
F. #2020R00142                                      Brooklyn, New York 11201



                                                    November 27, 2020

By ECF

The Honorable Rachel P. Kovner
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Keith Levy
                      Criminal Docket No. 20-87 (RPK)
                      ORAL ARGUMENT REQUESTED

Dear Judge Kovner:

               The government respectfully submits this reply in further support of its October
26, 2020 motion in limine. (ECF #37). As set forth below, evidence regarding the defendant’s
violent criminal history and suspected involvement in the Old Timers Day shooting is highly
probative on the core trial issues – (1) whether an ordinary, reasonable parole officer familiar
with the context of the defendant’s words would interpret them as a true threat; and (2) whether
the defendant uttered a threat with the requisite mental state. Remarkably, the defendant does
not address either issue. Instead, the defendant makes propensity arguments based on a
fundamental misunderstanding of both the elements of a Section 875(c) charge and the
government’s theory of the case. As described below, the proffered evidence does not relate to
propensity and is fundamental to proving the elements of the crime. For these reasons and the
reasons described in the motion, the Court should permit the government to introduce the
proffered evidence as direct proof of the defendant’s guilt. Alternatively, such evidence should
be admitted under Rule 404(b) as probative of the defendant’s mental state.

  I.   The Proposed Evidence Is Direct and Intrinsic Evidence of the Charged Crime

           A. Evidence of Past Violence Is Permissible to Prove Context of the Threat

                The government’s theory of the case is simple: the defendant’s statement that he
wanted to get “the hammer” to shoot the SPO in the face was a true threat in light of the
defendant’s known and suspected historical involvement in gun violence – i.e., the context
available to an ordinary, reasonable parole officer who heard the alleged threat. See United
States v. Sovie, 122 F.3d 122, 125 (2d Cir. 1997). Without that context, testimony by parole
officers that they interpreted the defendant’s words as a threat might appear to jurors to be an
overreaction, especially in light of the ambiguous, past tense wording of the alleged threat. See
United States v. Malik, 16 F.3d 45, 49 (2d Cir. 1994) (recipients’ states of minds and reactions
particularly significant to remove ambiguity by shedding light on context of alleged threat);
United States v. Stock, 728 F.3d 287, 300 (3d Cir. 2013) (“[I]n the right context, an expression
of an intent to injure in the past may be circumstantial evidence of an intent to injure in the
present or future.”).1

               Contrary to the defendant’s argument, the proffered evidence is not impermissible
propensity evidence because its purpose is not to suggest to the jury that the defendant must have
made an interstate threat because he is a violent person. Instead, the evidence is probative of
whether the recipients of the alleged threat “had a reason to believe that the [defendant] had a
propensity to engage in violence,” which is relevant to the true threat analysis. United States v.
Ivers, 967 F.3d 709, 718 (8th Cir. 2020); see United States v. Syring, 522 F. Supp. 2d 125, 130
(D.D.C. 2007) (same); United States v. Fulmer, 108 F.3d 1486, 1502 (1st Cir. 1997) (evidence
that a defendant had engaged in acts showing him to have a tendency to be violent is not
necessarily unfairly prejudicial because in “a threats prosecution, the general factual context in
which the statement was made bears significantly on whether an ambiguous statement could
reasonably read as a threat”); United States v. Carter, Case No. 94-CR-628 (ACW), 1995 WL
480991, at *2 (N.D. Ill. Aug. 11, 1995) (“[E]vidence of earlier acts of violence can be relevant to
evaluating the force of the threat, so long as the victim knows of the other acts.”). In other
words, evidence that tends to prove how the recipients of an alleged threat perceived the
defendant, including whether the defendant had a propensity to commit violence, is admissible in
a Section 875(c) case because it relates to whether an alleged threat should be taken seriously.

                The distinction between impermissible propensity evidence and permissible
evidence of a defendant’s propensity for violence (that is known to a recipient) in the true threat
context is a subtle but crucial one. The defendant’s response elides this difference, suggesting
that the government can “easily and coherently tell the story of Mr. Levy’s grievances and
frustration of being on parole” leading up to the January 27, 2020 phone call, without presenting
any evidence of the defendant’s criminal history or suspected involvement in recent crimes. Def.
Br. at 7. But this argument substitutes the defendant’s theory of the case for the government’s.
As explained above, the government does not allege that the defendant uttered a true threat
simply because parole officers were aware of the defendant’s recent issues with supervision.
Instead, evidence of the defendant’s known past violence was critical to the parole officers’
interpretation and is thus “necessary to complete the story of the crime [on] trial.” United States
v. Gonzalez, 110 F.3d 936, 942 (2d Cir. 1997) (citation omitted).

               Indeed, the weakness in the defendant’s argument is clear when applied to a
hypothetical situation with facts just slightly different from those in this case. For example, had

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           The defendant takes issue with the fact that the defendant uttered the alleged threat to PO-1 instead of the
SPO. If anything, this ambiguity makes additional contextual evidence all the more important. In addition, if “the
speaker intentionally communicated the alleged threat to someone, it is not determinative that he did not
communicate it directly to its object.” Porter v. Ascension Parish Sch. Bd., 393 F.3d 608, 616 (5th Cir. 2004); see
United States v. Doggart, 906 F.3d 506, 511 (6th Cir. 2018) (Sutton, J.) (“Section 875(c) does not require the
defendant to communicate the threat to the victim.”).



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the defendant’s only past conviction been for wire fraud, evidence of that conviction would be
irrelevant in a subsequent Section 875(c) trial because knowledge of a past wire fraud conviction
would not inform a parole officer’s interpretation of words about a “hammer” and shooting a
parole officer in the face. However, the defendant’s argument implies that the government
would be limited to the same evidence in trying him for making an interstate threat in either
situation. That result would be absurd and divorced from the factors described by numerous
courts that juries are allowed to consider when evaluating whether a statement is a true threat.2

                Whether the defendant uttered a true threat will be hotly contested at trial. The
facts that informed parole officers’ interpretation of the defendant’s words comprise the context
of the alleged threat and will be key evidence that is directly probative of the elements of Section
875(c). Hence, the proffered evidence is “inextricably intertwined with the evidence” regarding
the Section 875(c) charge, is “necessary to complete the story of the crime on trial,” United
States v. Lyle, 919 F.3d 716, 736 (2d Cir. 2019) (citation omitted), and should be directly
admissible, subject to the requirements of Rule 403.

             B. Evidence of Past Violence Is Directly Probative of Defendant’s Mental State

               The government’s proffered evidence is also directly relevant to the defendant’s
mental state. To prove a Section 875(c) offense, the government must show that the defendant
either intended that his statement be received as a threat or knew that it would be received as a
threat. Elonis v. United States, 575 U.S. 723, 135 S. Ct. 2001, 2012 (2015); United States v.
Jordan, 639 F. App’x 768, 769 (2d Cir. 2016).3 And as the Second Circuit explained in Sovie,
external evidence of prior bad acts is relevant to proving a defendant’s mental state in the Section
875(c) context if the defendant knew or believed the recipient of his threat was aware of the prior
bad acts. See Sovie, 122 F.3d at 126. Put another way, the intention behind a defendant’s words
turns on his audience, and the same words spoken to someone familiar with a defendant’s past
bad acts may carry menace that words spoken to a stranger would not.

                Similar to his argument regarding the true threat prong, the defendant either
misunderstands or misconstrues the mental state element of a Section 875(c) charge. See Def.
Br. at 8 (“How can [the defendant] be the same as when he was a teenager . . . ?”). Mark Sovie’s
mental state when he abused his ex-wives was not relevant in his trial for transmitting an
interstate threat, nor is the defendant’s mental state when he committed past felonies relevant
here. Instead, the existence of the past convictions is what matters. Evidence that the defendant
knew PO-1 was aware of the defendant’s violent criminal history would tend to prove the
defendant knew or intended that his words be received as a threat. See Sovie, 122 F.3d at 126.
After all, the defendant must have known that references to shooting a parole officer would be
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           The critical issue is what relevant information was available to the recipient of the alleged threat. Thus,
by way of another example, the defendant’s prior convictions and suspected involvement in a shooting would be
irrelevant had he uttered the alleged threat to a stranger because those facts would be unknown to the stranger and
hence could not inform his interpretation of the defendant’s words.
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           The defendant incorrectly states that since Elonis, “a defendant must be shown to have intended a threat.”
Def. Br. at 15. As Elonis and its progeny make clear, that is an incomplete statement of the law. Knowledge that a
statement will be received as a threat, which is essentially a recklessness standard, also satisfies Section 875(c)’s
mental state requirement.



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taken more seriously by someone who knew of the defendant’s past violent felonies. And just as
in Sovie, evidence that the defendant was actually convicted of prior felonies would corroborate
that mental state evidence.

                Relatedly, the defendant’s reliance on cases stating that other acts evidence
becomes less probative with the passage of time is misplaced. See Def. Br. at 10-11. None of
those cases involved Section 875(c) threats. Instead, those cases involved more typical situations
in which a past bad act might demonstrate a similar modus operandi or pattern of behavior. See,
e.g., United States v. Garcia, 291 F.3d 127, 138 (2d Cir. 2002) (minor drug conviction not
probative of mental state as to charged drug transaction involving coded language because no
evidence showed past crime involved code or same participants); United States v. Gonzalez, No.
08 Cr. 363 (BSJ), 2009 WL 1834317, at *2-3 (S.D.N.Y. June 24, 2009) (earlier drug dealing
convictions were not similar to charged crime where police found drugs during a strip search of
defendant after arrest for robbery). In such cases, older past acts may be less relevant because, as
the defendant points out, an individual may change his ways.4 But here, the government is not
alleging that the defendant’s past convictions help prove his mental state as to similar crimes.
Instead, in a prosecution for making an interstate threat, his past convictions and others’
knowledge of those convictions are probative of his mental state with respect to the threat.
While the passage of time might impact the relevance of such evidence in some cases, that is not
so here, where the defendant’s past convictions were an intrinsic part of the subtext for the
defendant’s interactions with his parole officers.

 II.    The Proffered Evidence Is Admissible in the Alternative Under Rule 404(b)

                In the Rule 404(b) context, other acts evidence is admissible for “any purpose
other than to show a defendant’s criminal propensity, as long as the evidence is relevant and
satisfies” Rule 403. United States v. Carboni, 204 F.3d 39, 44 (2d Cir. 2000) (emphasis added).
To the extent the Court finds that Rule 404(b) controls, the proffered evidence is “subject only to
general strictures limiting admissibility such as Rules 402 and 403” because it is relevant to the
defendant’s state of mind, which is a “proper purpose” under Rule 404(b). Huddleston v. United
States, 485 U.S. 681, 688 (1988). Hence, the admissibility analysis for the proffered evidence is
essentially the same, whether under Rule 403 or Rule 404(b). As explained below, because the
probative value of the proffered evidence is not substantially outweighed by unfair prejudice, it
should be admitted.

III.    The Evidence’s Probative Value Is Not Substantially Outweighed by Unfair Prejudice

               As discussed above, the probative value of the proffered evidence is strong in the
context of a Section 875(c) prosecution. The only real issue before the Court is whether the
probative value is substantially outweighed by unfair prejudice. It is not. As explained in its
motion, the government seeks to introduce only enough evidence to inform the jury that the
defendant was convicted of felonies arising from a shooting and his possession of a prison shank,

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            For example, if the government sought to admit evidence of the defendant’s 2005 convictions to prove
intent in a present-day prosecution for attempting to murder the same victim or victims, he might have a better
argument as to the diminished relevance of his past convictions.



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and that the defendant was a suspect in a recent shooting in Brooklyn. The government does not
seek to introduce evidence regarding the underlying details of those crimes, no matter how
heinous the defendant’s past conduct. A curated presentation of the evidence that conveys to the
jury the existence of the prior convictions and the defendant’s role as a shooting suspect is not
more inflammatory than a threat to take a gun and shoot a parole officer in the face. See United
States v. Livoti, 196 F.3d 322, 326 (2d Cir. 1999).

                The defendant’s prejudice argument rests on a caricature of how the government
intends to introduce the proffered evidence. See Def. Br. at 10 (“[I]t is abundantly clear that a
jury would likely conclude that if Mr. Levy were involved in two separate shootings with over
15 total victims he most assuredly must possess the requisite intent to communicate a true threat
to SPO Jane Doe.”). The government need not and will not rely on presenting lurid details
regarding, for instance, the nature of victims’ injuries. As such, there is little concern that the
jury’s passions will be inflamed. In addition, the government’s requested approach distinguishes
this case from those cited by the defendant in which courts found certain evidence to be unfairly
prejudicial. See, e.g., United States v. Al-Moayad, 545 F.3d 139, 161 (2d Cir. 2008) (extensive
testimony regarding bombing was graphic, supplemented by photos and videos, and related to an
issue that was not in dispute at trial).

IV.      Conclusion

               For the reasons explained in the motion and above, evidence regarding the
defendant’s past convictions and suspected involvement in the Old Timers Day shooting is
highly probative of the key Section 875(c) elements that will be disputed at trial. The
government intends to minimize any unfair prejudice by presenting the proffered evidence in a
general, summary manner. Accordingly, the Court should permit the government to introduce
such evidence as direct Rule 403 evidence, or alternatively as Rule 404(b) evidence relating to
intent and knowledge.5

                                                               Respectfully submitted,

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            The government reiterates that any unfair prejudice can be further mitigated by appropriate limiting
instructions. See United States v. Snype, 441 F.3d 119, 129-30 (2d Cir. 2006) (noting that “the law recognizes a
strong presumption that juries follow limiting instructions”); United States v. Mercado, 573 F.3d 138, 142 (2d Cir.
2009) (upholding Rule 403 determination where district court “gave several careful instructions to the jury regarding
what inferences it could draw from the admitted evidence”).



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